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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


 UNITED STATES OF AMERICA,                        )
                                                  )
                Plaintiff,                        )
                                                  )        1:07-cr-125-09 SEB-KPF
        vs.                                       )
                                                  )
 CRUZ SAENZ,                                      )
                                                  )
                Defendant.                        )


                         ORDER GRANTING MOTION TO EXTEND
                          TIME FOR FILING NOTICE OF APPEAL
                                    (Docket No. 928)

        Defendant, acting pro se, mailed his Notice of Appeal to this Court on June 1, 2011. It was,

 however, due fourteen days earlier (on May 18, 2011), and the Seventh Circuit Court of Appeals has

 questioned Defendant’s appellate counsel about the timeliness of Defendant’s appeal. Consequently,

 Defendant now moves that we retroactively grant him a thirty-day extension of time to file his

 Notice of Appeal (through and including June 17, 2011), which would make the document that he

 mailed on June 1, 2011, timely.

        The Court, having considered Defendant’s motion and being duly advised in the premises,

 surmises that it was Defendant’s initial intention not to appeal the sentence imposed on April 18,

 2011, and that sometime later he changed his mind, but by the time he did so, he had already been

 returned to prison in Oakdale, Louisiana and his then counsel, whose office was located in

 Indianapolis, Indiana, was not readily available to him. As a result, Defendant decided to proceed

 on his own. While these facts present a “close call” regarding whether a “good cause” or “excusable

 neglect” showing has been made for Defendant’s missed filing deadline, we find that the distance
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 between Defendant’s place of incarceration and his then counsel’s office no doubt complicated

 Defendant’s ability to confer with counsel and, thus, the Court should give him the benefit of the

 doubt as to “good cause” and allow him to extend the time for his Notice of Appeal to June 17, 2011.

        Accordingly, Defendant’s motion is GRANTED. Because we now grant Defendant through

 and including June 17, 2011, to file his Notice of Appeal, we find that the document he mailed on

 June 1, 2011, [Docket No. 915], was timely filed with this Court.

        IT IS SO ORDERED.

        08/30/2011
 Date: _______________
                                                               _______________________________
                                                               SARAH EVANS BARKER, JUDGE
                                                               United States District Court
                                                               Southern District of Indiana


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